          Case 1:19-cv-03127-VM Document 11 Filed 05/09/19 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 EXCELSIA LEATHERWARE COMPANY,                         Case No. 19 Civ. 3127

    Plaintiff,                                         REQUEST FOR ENTRY
                                                       OF DEFAULT
        - against -

 KENNETH HOROWITZ and
 BAG STUDIO, LLC,

    Defendants.


                 Pursuant to Federal Rule of Civil Procedure 55(a) and Local Civil Rule 55.1,

Plaintiff in the above-captioned action hereby requests an entry of default by the Clerk of the

Court based upon defendants’ failure to file an answer or otherwise move with respect to the

Complaint filed on April 8, 2019.

                 As detailed in the accompanying Affidavit of Adam Pollock, the defendants (1) are

not infants, in the military, nor incompetent persons; (2) have failed to plead or otherwise defend

against the action; and (3) the Complaint was properly served on defendant Bag Studio, LLC on

April 10, 2019 and on defendant Kenneth Horowitz on April 11, 2019.

                 Defendants are therefore subject to entry of a default judgment by the Clerk of the

Court pursuant to Fed. R. Civ. Pro. 55(a).

                 Pursuant to Local Civil Rule 55.2(c), all papers submitted herewith are being

simultaneously mailed to the last known residence of defendant Kenneth Horowitz and to the

last known business address of defendant Bag Studio, LLC.
        Case 1:19-cv-03127-VM Document 11 Filed 05/09/19 Page 2 of 2




Dated: New York, NY
       May 8, 2019
                                        POLLOCK COHEN LLP

                                        By: /s/ Adam Pollock
                                            Adam Pollock
                                        60 Broad Street, 24th Floor
                                        New York, NY 10004
                                        (212) 337-5361
                                        Adam@PollockCohen.com
                                        Attorneys for Plaintiff
